                 Case 2:21-cv-01171-RSM Document 7 Filed 10/28/21 Page 1 of 2




 1

 2

 3

 4

 5

 6
                               UNITED STATES DISTRICT COURT FOR THE
 7                               WESTERN DISTRICT OF WASHINGTON
                                           AT SEATTLE
 8

 9
     RYAN ADAM DIXON,
                                                          CASE NO. C21-1171-RSM
10
                            Plaintiff,
            V.                                            ORDER STRIKING PLAINTIFF’S MOTION
11
                                                          FOR FREE ACCESS TO JUDICIAL
     LEA ENNIS, ET AL.,                                   TRIBUNAL AND EXTENDING
12
                                                          DEADLINE TO CURE FILING
                            Defendants.                   DEFICIENCY
13

14
            This matter comes before the Court sua sponte and on the Court’s August 30, 2021 Notice of
15
     Filing Deficiency, Dkt. #2. The Court informed Plaintiff that the filing fee in this action has not been
16
     paid, and that Plaintiff is required to either pay the $402.00 filing fee or submit an Application for In
17
     Forma Pauperis (IFP). Id. at 1. The Court further advised Plaintiff that this deficiency must be
18
     corrected by September 29, 2021. Id.
19
            As of the date of this Order, Plaintiff has failed to correct the filing deficiency. In lieu of
20
     paying the filing fee or submitting an IFP Application, Plaintiff has filed a Motion for Free Access to
21
     Judicial Tribunal. Dkt. #6. This motion is procedurally improper and is therefore STRICKEN. The
22

23

24    ORDER STRIKING PLAINTIFF’S MOTION FOR FREE
      ACCESS TO JUDICIAL TRIBUNAL AND EXTENDING
      DEADLINE TO CURE FILING DEFICIENCY - 1
               Case 2:21-cv-01171-RSM Document 7 Filed 10/28/21 Page 2 of 2




 1 Court will afford Plaintiff fourteen (14) additional days from the date of this Order to correct the filing

 2 deficiency, or this case shall be dismissed.

 3
            DATED this 28th day of October, 2021.
 4

 5

 6

 7
                                                   A
                                                   RICARDO S. MARTINEZ
                                                   CHIEF UNITED STATES DISTRICT JUDGE
 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24   ORDER STRIKING PLAINTIFF’S MOTION FOR FREE
     ACCESS TO JUDICIAL TRIBUNAL AND EXTENDING
     DEADLINE TO CURE FILING DEFICIENCY - 2
